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10                                UNITED STATES DISTRICT COURT
11                                      DISTRICT OF NEVADA
12   UNITED STATES OF AMERICA,                         ) Case No. 2:11-CR-434-LDG-(PAL)
                                                       )
13                   Plaintiff,                        )
                                                       )
14           v.                                        )
                                                       ) Stipulated Motion to Continue Discovery
15   EDUARD PETROIU, et. al.,                          ) (Fifth Request)
                                                       )
16                   Defendants.                       )
                                                       )
17                                                     )
18

19          COME NOW the parties who stipulate and jointly move this Court to continue the

20 discovery cut-off in the above-captioned case until April 30, 2017. The Government has already

21 engaged in extensive ‘paper’ discovery including propounding interrogatories and requests for

22 production of documents on the Petitioners, which have been, mostly, answered by the

23 Petitioners.

24          The principal issue in this litigation is whether the Petitioners purchased a parcel of real

25 property located at 4225 Dover Place, Las Vegas, Nevada with legitimate assets or, as alleged by

26 the Government, were funds derived in whole or in part from fraudulent acts which were the
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 1 subject of the above-referenced criminal indictment. Several individuals were convicted and

 2 sentenced, including Delyana Nedyalkova, the daughter of the Claimants, Atanas and Mariya

 3 Nedyalkova. Delyana Nedyalkova lived in the Dover Place residence with the Petitioners

 4 during the relevant time period that criminal acts leading to ill-gotten gains were underway.

 5 Specifically, the Government alleges fraudulent proceeds were used to acquire the residence in

 6 whole or in part. The illicit funds were derived from a conspiracy involving all of the convicted

 7 defendants named in the indictment who were running an internet fraud scam; offering to sell

 8 cars, trucks, boats and other conveyances, which the conspirators did not own, to an

 9 unsuspecting public, the latter of which paid good and valuable consideration for the cars and/or

10 trucks, etc., that they did not receive from the defendants.

11           Since filing the most recent motion to continue discovery, on or about December 5, 2016,

12 the parties have substantially-completed documentary discovery and depositions. Specifically,

13 the petitioners have turned over hundreds of pages of bank records and the Government has

14 conducted several days of depositions in connection with that paper discovery.

15           Discovery is not yet complete in that the petitioners have agreed through counsel to

16 provide the government with the petitioners’ tax returns for the relevant years of 2005 through

17 2009. Once the Government has had the opportunity to review those tax returns it may conduct

18 further limited depositions or, alternatively, it may facilitate settlement discussions.

19           Counsel for the petitioners, Boris Avramski, consents to this motion.

20           Given the foregoing, the parties have agreed to request that this Court extend the

21 discovery cut-off deadline in this matter until April 30, 2017.

22           This motion is not submitted solely for the purpose of delay or for any other improper

23 purpose.

24 / / /

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 1          WHEREFORE, the parties move this Court to grant a continuance of the discovery cut-

 2 off date until April 30, 2017, for the parties to complete discovery.

 3          Dated this 28th day of February 2017.

 4
                                                         Respectfully submitted,
 5
                                                         DANIEL G. BOGDEN
 6                                                       United States Attorney
 7                                                       /s/Michael A. Humphreys
                                                         MICHAEL A. HUMPHREYS
 8

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10                                                       IT IS SO ORDERED:
11

12
                                                                          DISTRICT JUDGE
                                                         UNITED STATES MAGISTRATE
13                                                        Lloyd D. George
                                                         DATED:           March 2017
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